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                         I"]NITED STATES DISTRICT COURT

                          FOR T}IE DISTRICT OF IDAHO

UNMED STATES OF AMERICA,                 Case   No. 1:19-cr-00250-DCN

            Plaintiff,                  RULE TI PLEA AGREEMENT

      vs.

LOIS M. SOITO,

            Defendant.




                                                                        RqY. May2019
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I.            GIIILTY PLEA

                       I   .      Summerv of Terms Pursuant to Federal Rule of Criminal Procedure

    I   t(c)(l)(A)   and @), the Defendang the attomey for the Defendant, and the Governmurtr agree

that the Defendant             will plead guilty to counts Nhe     and Ten of the Indictuent, which charg€ the

Dcfcnda:rt witfi Wirc Fraud, in violation of 18 U.S.C. $ 1343. Thc Dcfcndant                    will   also admit the

asset forfeiture allegation in the Indictment.

              This plea is voluntary and did not result from force, threats, or promises, other th4n any

promise made in this agreement. Upon acceptance ofthe Defendant's guilty pleas, and the

Defendant's full compliance with the other terms of this agre€ment, the Govemment,                       will
dismiss, under Federal Rule of Crim'inal Procedure I                l(cXl)(A),   counts One through Eight of the

Indictrnent and under Fed€f,al Rules of Criminal Proccdure I I (c)( I )@), will recommend a

sentence within the United States Santencing Guideline (.ISSG) range determiaed by the                       Disrict
Cout.

             B.        @![       The Defendant     will   bc placcd undcr oath at   t]e plea hearing. The

Government may use ally statement that the Dcfendant makes under oath egar'nst the Defendant in

a       prosecution for pe{ury or false statement.

II.          WAWER OF CONSTTTUTIONAI RIGETS AT TRHL

             The Defendatrt waiv€s the following rights by pleading guilty pursuant to this agrcement:

I   ) the right to plead not guilty to the offenses charged against the Defendant and to persist in that

plea; 2) the right to a trial         byjury,   at which the Dcfendant would be presnmed innocent and the

burden would be on the Govemment to prove the Defendaat's guilt beyond a reasonable doubt; 3)

the right to have the          jury   agree unanimously lhat the Defendant was guilty       ofthe offense; 4) the


             I The word
                        "Govemment, in this agreement rcfcrs to the United States Attomey for the
District ofldaho.

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right, at trial, to confront and cross-examine adverse witnesses; 5) the right to present evidence

and to compel the atendance ofwitnesses; and 6) the right not to testiry or present evidence

without having that held against thc Dcfendant, If the cowt accepts thc Dcfcndant's guilty plea'

there   will   be no trial.

III.      NATT'REOFTEE,CEARGES

          A         Elemeuts of the Crime. The elements of the crime of Wire Fraud, in violation         of

18 U.S.C. $ 1343, as charged         in counts Nine and TerL are as follows:

                    1.        The defendant knowingly dwised a scheme or plan to defraud or a scheme

or plan for obtaining money or property by meau of false or fraudulent pretenses,

representatious, or promises;

                    2.        The statements made or facts omitted as part of the scheme were material;

that is, they had a natural tendency to influence, or wei-e capable of influencing a person to part

with money or property;

                    3.        Thc dcfen,Lht actcd with the intent to defrau4 that is, the intent to deceive

or cheat; and

                    4.        The defendant used, or caused to be used, a wire communication to carry

out or attempt to carDr out an essential part of the scheme.

          B.        Factual Basis. The Defendant adrnits the following facts are tue:

          The defendant LOIS M. SOITO was employed by Saint Alphonsus Health System

(SAHS), in Boise, Idaho, for approximately 22 years. During her employmen! she worked in

accounts receivable and in November 2015, she became the Manago ofCash Accounting for

SAHS. Tte defendant's employment ended on January 31,2019. As part ofher employment, the

deferdant had access to the cash raised at the Festival of Trees fimdraiser. While employed at

SAHS, the defendant served on tfie leadership team ofthe Employee Support Team at SAHS.


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        Beginning in at least January 2005 through January 2019, the defendant devised a scherne

o   defraud SAHS to obtain money and property. The defendant collcctcd and k€,pt miscellaneous

checks intended for SAHS rather than depositing them in the appro,priatc SAHS account. The

defendant took some of the misccllancous chccks and fraudulendy deposited them in the

Employce Support Tesm bank accourt at Saiat Alphonsus Medical Credit Union (SAMCII). The

dcfcndant then obtahed   blant siped    checks for the Employee Support Team account uader the

guise ofreimbursing and/or paying vendors for services. Instead ofusing those checks for

legitimate reimburscments, the defendant made the checks payable to herself and deposited them

into an account she contolled at Icon Credit Union (ICON). The defendant wrote the checks to

include the aoount ofthe miscellancous checks she taudulently deposited in the Employec

Support Team accouat. For examplg on February 23, 2018, the defendant deposited Employee

Support Team check number 1985 for $14,M8.40 into h€r accounl at         ICON. Again or     June 22,

2018, the defendant deposited Employee Support Team check number l9E6 for $21,063.56 into

her account at ICON. Each time the defendant deposited an Employee Support Team check into

her accout at ICON, she caused an interstate wire t'ansmission between SAMCU and ICON.

This rcsulted in proceeds ofat least $758,402,30. The defendmt's misuse ofthe miscellaneous

checks and the Employee Support Team account were material because it allowed the defendant

to ernbezde SAHS funds and deposit them into her accounts.

        The defendant also used some of the SAHS miscellaneous checks to cover her theft of the

cash funds from the Festival of rrees from at least 2014 through 2019. The defendant collected

the cash from the Festival of rrees, under the guise of depositing   it ioto the proper bank account.
Instead of depositing the cash in the proper accouo! the defendant kept the cash and substituted

miscellaneous checks, which she had misdirected fiom other SAHS accounts, for the deposit.




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The defendant changed the deposit slip for the Festival of Trees to cover her     theft. This resulted

in proceeds of at last$246,732.52.

        The defendant uscd similar mcthods with other accounb connectcd to the SAHS between

approximately 2014 and 2019 to ernbezzle at least an additional $147,71I from the SAHS. In

addition, thc defcndant cmbczzlcd $33 I,I l8 from the SAHS       h   2005. In all instances described

above, the defendant acted with the intent to defraud the SAHS.

        The defendant deposited proceeds from her embezzlement into her ICON accounts as part

ofaccount cnding 132. Thc dcfcndant also cmbczded cas\ which she did not d€posit, and

fi'audulantly directed it to her personal expenses. The govemment obtained a seizure warrant to

seize 5299,043.7O from    ICON. The defendant agrees that the seized money is proceeds from her

wire taud. Thc govemment also placed a /rs pendezs on the defendant's real property. The

defendant admits that any equity or value in her real propefty derives ftom, or is traceable to,

fraud proceeds.

TV.     SENTENCINGFACTORS

        A.      Pmdtis.     The crime of Wire Fraud" in violation     of 18U.S.C. g   1343, as charged

in counts Nine and Ten, is punishable by:

                l.      a term of imprisonment   of 20 years;

                2.     a term ofsrryervised release    ofnot more than 3 years; and

               3.      a maximum fine   of $250,000, and a special assessment of $ 100.

        B.     Surervls€d Relerse. The Court may impose         a   period ofsupervised release. No

agreement exists as 0o its length.

        The law permits the combined prison time and temr of supervised release to excecd thc

maximum temr of incarceration for the crimes to which the Defeirdant is pleading guilty.

violation of any condition of supervised release may result in further penalties and prosecution,


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       C.        Fines and Costs. The Court may impose a fine. No agreement exists as to its

amount of the   fine. The Court may also order the Defendant to pay the costs of imprisonment,

probation, and supervised release.

       D.        Speclel Asressment The Defendant will pay the special assessments before

sentencing and   will firnish   a rcccipt at scntcncing. Palmrent   will   be made to:

                 The United States District Cour! Clerk's Office
                 Federal Building and UDited States Courthouse
                 550 West Fort Stre€t, Fourth Floor
                 Boise, Idaho E3724

       E.        Resdtudon. In addition to paying any forfeiture, fine, and costs imposed, the

Defendant also agrees to pay restitution equal to the full amormt of loss caused to any victim. The

Defendant agrees to pay rcstitution in the sum ofat least $1,483,963.82, to the following victims:

St. Alphonsus Health   System. The Defendant agrees that all monetary penalties imposed by the

Court including restitution, will be due immediately and can immediately be enforced by the

Governmcnt (whether through 18 U.S.C. $ 3513 or othcrwise). The Defendant agrees that thc

payment schedule or plan is neither the only method nor a limitation on the methods, available

for enforcing the judgrnent. It is simply a schedule or plan for minimum payments. The

Defendant is aware that voluntary payment ofrestitution prior to adjudication            ofguilt is a factor

the Court can consider   if   the Defendant haE accepted r€sponsibility uader U.S.S.G. $ 3E1 . I          .


       F.       Forfelture. The Court will enter a forfeiture order as part of the Defendant's

seoterce.   1[s pgfendqnt will immediately forfeit to the GoverDment          the property set out   in: this
agreement, the charging document to which the Defendant is pleading, and any              Bill ofparticutan.

Defendant agrees that those documents provide statutory authority for forfeihue.

                 l.    Additionally, Defendant agrecs to forfeit the following.

                       a.         Seized Propertv:



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                                   l)        Approximately $299,043.70 in seized currency from ICON
                                             account ending 132.

                       b.          Real Propertv:

                                   1)        Horseshoe   Ben(      Gem County, Idaho, approximately 20

                                             acres, APN: RPC62300000110 (formerly APN:

                                             RP0M08202) recorded owner: Iois M. Soito and B.S.; and

                                   2)        Adjacent graziag land, approxinrately 40 acres, APN:

                                             RP07N01E 1z14200 (formerly          AIN:   RP00407319) recorded

                                             owner: Lois M. Soito and E.S.


                       c.          Unseized SAMCU account ending 033. Defendant agrees to the

seizure or restraint of her SAMCU aocount and all funds therein. The Government may seek such

an order, based solely on this Agreement. Defendant               v/ill make no attempt to withdraw or

transfer any firnds from   tiat   account

                       d           Additional property traceable to, or derived from, the proceeds of

the fraud scheme. Defendant understands that the financial investigation continues and the

Government is free to pursue, by any lawful means, other potentially forfeitable property.

                       e.          Forfeiture Money Judment for Umecovered prooerty. The Court

may impose forfeiture of a monetary sr'- , or money judgrren! equivalent to unrecovered

property including urrecovered proceeds ofthe offense of conviction obtained and controlled by

the Defendatrt, property derived from or traceable to such proceeds, and,/or unrecovered property

the Defendant used to commit or         facilitrte ths offenso,   as authorized by applicable statutes.

Defendant agrees to a forfeiture judgment ofat least g 1,493,963,g2.

                      iSu                 tute Assets Uo To the Value       of                Prooertv    biect
to Forfeiture. Pursuant to   2l   U.S.C. g 853(p) and other applicable statutes, the Defendant agrees


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 to forfeit substitute sssets, or any other property of thc Defendant up to the value ofany

unrecovered propcrty subject to forfeiture. Post-sentencing forfciture ofsubstitute assets does not

 eotitlc thc Defendant to rescntencing.

                  2.       Defendant makes the following additional agreements and waivers relaled

to forfoiturc.

                           a.        Regarding the above property, the Defendant (a) is the sole owner,

unless otherwise set out herein; (b) hereby withdraws any claims filed in any .dninistrative or

civil forfeiture procgsding; (c)      agrees to assist   fully in thc forfeiture and to takc all   steps necessary

to pass clear title to the Government; (d) will testiry truthfirly in any forfeiture proceeding and

will not assist   a third party   in asserting x gleim; (e) agrees to administrative, forfeiture, civil

forfciture, or abandonment, ofall propcrty describcd abovc; and (f) agrccs that variations or errors

in serial numbers or property descriptions shall not affect forfeihre.

                          b.        Forfeiture is separate from all other penalties, including fines and

restitution. As with other penalties, the court will dctcrmine forfciture at sentcncitrg. Any staEd

or pleaded forfeiture amount is an "at least'' amount and the Court may imFose greater or

additional forfeitures. The Defendo"t waives requirem€nts r€garding notice and pronounc€ment

of forfeinre, including: (a) in charging documents, (b) at the change of plea hearing, (c) at

s€ntercin& and (d) in the judpent. See FED. R. CRIM. p. llOXlXJ),32.2,and43(a).

                          c.        The Defendant waives all challenges and objections, on any

grounds, to any    forfeitre in accordance with this agreement. If this agreement           is withdrawn for

any reason, the Defendant waives the right to contest all adminisfative and civil forfeitures that

began before the withdrawal. The Defendant agrees to hold              tie united states, its agsnts, and

employees harmless from any claims rclated to seizures or forfeih[€ in this case or the related

investigation, The forfeiture provisions of this agreement will survive the Defendant,s death and


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 bind the Defendant's heirs, successors and assigns until forfeiture is fully collected. Any forfeited

 property directed to victims shall not be retumed even ifDefendant's conviction is overtumed or

 abated.

                           d.      The District Court shall retain jurisdiction to consider and rule on

 forfeiture aad relatcd issues, unless a higher Court direch otherwisc.

                   3.      Based on the dcfcndant's agreements in the Plca Agrecment and her

continued compliance with those agreements, the          usAo   agrces that it   will submit a restoration
request to the Moncy Laundering Asset Recovcry section (MLARS) of the D€partuent of Justice

@oJ) for restoration of funds that may be forfeited ftom the seizcd bank account; the defendant's

residence; and ao account at SAMCU, which the defendant           will   agree to   forfeit. This agreernent

does not   limit tte USAo from purs*ing other assets, or other methods, to satisff forfeinue or

restitution.

                           a.      "Restoration,' means that forfcited firnds could be restorcd from

 forfeiture to restihrtion, for the benefit ofthe victirq and would thereby satisfu both the

defendant's forfeiturc and rcstitution obligations. There are requirements, includitrg that the

defendant does not have sufficient firnds to pay both restitution and forfeiture.

                           b.      The defendant understands that restoration is a discretionary

function of MLARS. Neither the USAO, nor the Court, can contol or guarantee MLARS,

decision. The defendant acknowledges that no representations have be€n made to her as to
                                                                                         the

outcome of the rcquest and that MLARS is free to deny        it. If the defendant      violares any term   of
thc Plea Agreement, or fails to make honest and complete financial
                                                                   disclosures, that could affect

negatively     tle consideration of restoration. However, with    these limitatioos in mind, the    usAo
reprEsents that it has conferred   with MI,ARS and concluded that this is the tlpe of case where

restoration is possible.


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v-      SEIZED PROPERTY: ABAITIIXINMENT AIID                   WAMR
       The Defendant abandons, releases, and waives any interest in propcrty seized or otherwise

obtained by thc Govemmcnt or law enforcement in this qtse unless specific cxceptions are noted

in this agreement. Such property     will be disposed of, destroyd sold, or transfened in the

Covcrnmcnt's solc discrctioo. Such dispositioa sball not coustihte satisfaction ofany

asscssmcnt, fine, rcstitution, forfciture, cost of imprisonment, or any othcr penalty that this Court

may impose.

VI.    T]]\IITED STATES SENTENCING GI,]IDELII\ES

       A.      Appllcrdon of Sentcncine Guidelhet. The Court must consider                   the U.S.S.G.   in

daermining an appropriate senteoce under 18 U.S.C. $ 3553. The defendant agrees that the Court

may consider "relevant conduct" in detcrmining a sentence pursuant to U.S.S.G. $ 181.3.

       Thc Court is not   a   party to this agre€ment and the agrecment does not bind the Court's

determination of the U.S.S.G. range. The Cout       will identiS the factors   that   will   detennine the

sentencing range under the U.S.S.G. The Court hrs complete discretion to impose any lawful

sentence, including the maximum sentence possible.

       Recogrizing that this agreement does not bind the Court, the parties agree to the

recommendations and requests set forth bclow.

       B.      Sentenclne Guldellnes Recommendedons and Reouests.

               L       Govertrme[t's Statements st SeDtencing. Thg Govem.metrt reseaves the

right to allocute firlly at sentencing rcgarding atry sentenoing recommendation. The Government

may rcly on or submit any information, including relevant conduct, itr suppoft of its




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 recommendation regardless ofwhether the agroement or the pre-sentence investigation report

 contain this   infomation. Any exception         must be specified in this agreement.

                  2.      Acceptance of Responsibility. Ifthe Defendant clearly accepts

responsibility for the offense, the Defendant will be entitled to a reduction of two levels in the

 conbined adjusted offensc lcvcl, undcr U.S.S.G. $ 3El.l(a). Thc Govcmmcat will movc fot an

 additioual one-level reduction in the combhed offense level under g 3E1.1(b) ifthe following

conditions are met: (1) the Defendant qualifies for a decrease under g 3E1.1(a); (2) the offense is

level 16 or greater; and (3) the Defendant has timely notified authorities ofthe Defcndant's

intention to enter   a plea   of guilty, thereby permitting the Govemment to avoid preparing for hial

and permitting the Court to allocale iB r€sources        efficienfly. If, before sentence is imposed the

Defendant fails to meet U.S,S.G. $ 3El-1's criteria, or acts in a manner inconsistent with

acceptance of respoltsibility, thc Govemment          will withdraw or decline to make      the motion.

                  3.     Amount of Loss. The parties agree that the Amount of loss is

$1,483,963.82.

                 4.      Downwrrd Departure or Varlance Request by Defendont. Ifthe

Defendant u/ishes to seek      a departure or variance, the Defendant must         provide written notice to

the Govemment, aloug      witl      the reasons and basis therefore,   2l   days before the date set for

sentencing.

Ytr.     WAIVER OT RIGHT TO DIRECT APPEAL AND TO COLLATERAL ATTACK
         UNDER 28 U.S.C.        S   22ss

         A.      waiver: In excha"ge for        this agreement, and except as provided in subparagaph

B, the Defendant l,Jaives any right to appeal or collaterally attack the entry ofplea, the conviction,

the   enty ofjudgment,   and the sentence, including for.feiture and restitution. This waivcr includes




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any challenge to the constitutionslity ofany statute ofconviction including arguments that the

admitted conduct does not fall within any statutc ofconviction.

          The Defendant acknowlcdges that this waivsr     will result in thc dismissal ofany direct

appeal or collateral attack the Defcndant might    file seeking   16   6hallflgs ths plea, conviction or

sentence in this casc. Furthcr, thc   filing ofzuoh an appcal or collateral ettack will breach this

agrcement and allow the Govemmeot to withdraw from          i!    as   well as to takc othcr remedial

action.

          Ifthe Defendaat belicves the Govemment     has not   firlfilled its obligations under this

agreement, the Defendant     will object at the time of sentercing; further objections     arc waived.

          B.     Erceotiols:

                 1.     Dircct Apped: Notwithstarding subparagraph A, the Defendant may file

one direct appeal   ifone ofthe following unusual circumstances occurs:

                        a.      the sentencs iftposed by the Court cxceeds thc statutory maximum;

                        b.      the Court arrived at an advisory USSG range by applying an
                                upward departure under chapter 5K ofthe USSG; or

                        c.      the Court exercised its discr€tion under l8 U.S.C. g 3553(a) to
                                impose a sentence that exceeds the advisory USSG range as
                                determioed by the Court.

          The Defendant undcrstands that the above circumstances occur rarcty and that in most

cases this agreement completely waives all appellate rights.

                 2.     Motion Under 2t U.S.C. $ 2255: Notwithstanding subparagraph A, the

Defendant may file an inefective assistance of counsel claim in a 28 U.S.C. $ 2255 motion.

VIII.     PROVIDING INFORMATION FOR THE PRESENTENCE REPORT

          Tbe Defeadant agrccs to provide financial fuformation and any o&er ioformation

requestod by a rcpresentative of the Unitcd States pmbation office for use in preparing a prc-

sentoncc investigation rcport, and agrecs that thc unitcd ststes probation officc may sharc all

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financial information with the Government. Failure to execute releases or to provide information

for the pre-scntence invcstigation report violatcs this agrcemcnt and relicvcs thc Govcrnment               of
its obligations from    it.   Such failure by the Defendant and response by the Government         will no!

however, constitute grounds for withdrawing the plea of guilty unless the Govemment so

requcsls. Providing matcrially falsc information        will   subjcct thc Dcfcndant to additional

penalties, in6lu.ling an 6nhanccmcnt under U.S.S.G. $           3Cl.l.
D(.     DISCLOSINGFINANCIALINFORMATION

        The Defendant agrees to disclose all lhe Defendant's assets and sources of incomc to the

Govemment, including all assets over which the Defendant exercises or cxercised direct or

indirect control, or in which the Defendant has had any financiel inter€st. This includes all

community property. The Defendatrt also agrees to cooperate in obtaining aoy rccords rclating to

ownership of assets when sought by the GovemmenL The Defendrnt agees ftrthfully to

complete a penonal financial statement within 14 days from the            &te   the Defendant siens this

agreemeot or &om the date the financial Etatement is provided to the Defendant or counsel,

whichever is later. The Defendant agrees to provide updates with any material changes in

circumstances, as described       in   18 U.S.C. $ 3664(k),   within 7 &ys of the went giving rise to the

changed circumstances. The failure timely and accurately to complete,             sip,   and update the

financial statements may coastitut€ failure to accept responsibility under U.S.S.G. $ 3E1.1, as

well as other ,hings.

        The Defendant authorizes the Gov€rnment: (a) to obtain a credit repot on the Defendant;


O) to inspect and copy all financial documents and information held by the United States

probation office; and (c) to obrsin all financial records rclated to the Defendant.

        Before sentencing, Defendant agrees not to dissipatg any assets without the consent            of
both the Government's financial litigation unit and asset forfeiture unit. If any assets are sold,


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any sale proceeds   will be deposited.with the Clerk of Court   and, upon sentencing paid toward


any monetary penalties ordered in the judgment.

X.      NORIGIITTOWITflDRAWPLEA

        The Defendant understands that the Court may not follow the recommendations or

requests made by the parties at the ti'ne of sentencing. The Defendant cannot withdravl from this

agre€ment or the guilty plea, regardless ofthe Coud's actions.

XI,     CONSEQUENCESOFVIOLATINGAGREE,MENT

        A.       Government's Ootions. ffthe Defendant fails to keep any promise in this

agreement or commits a new crime, the Gov€mment is relieved of any obligation:         l)tomakea

sentencing recommendation consistent with the terms promised in this agreemetrt; and 2)       lot   to

prosecute the Defendant on other charges, hcluding charges not pursued due to this aglecment.

such charges may be brought without prior notice. If the Government determinos that a breach

warr-ants prosecution before senteacing, it may withdraw from this agreement in its     entirety. In

addition" if the Govemment deterrdnes after sentence is imposed that the Defendaflt's breach         of

the agreement warrants further prosecution, the Government may choose between letting the

conviction(s) under this agreement stand or vacating such conviction(s) so that charge(s) may be

re-prosecuted,

        The Government's election to pursue any of the above options provides no basis for the

Defendant to withdraw the guilty plea(s) made pursuant to this agreement.

        B.       Defendant's Wdver of Riehts. If the Defendant fails to keep any promise made

in this agreement, the Defendant gives up the right not to be placed twice in jeopardy for the

offense(s) to which the Defendant entered a plea   ofguilty or which were dismissed under this

agre€ment. In addition, for any charge that is brought as a result ofthe Defendant's failure to

keep this agreemmt, the Defendant gives     up: (1) any right under the Constitution   and laws of the


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unitcd states to be charge.d or tried in a more speedy manner and (2) the right to be charged

within the applicable statute of limitations pcriod if the st8tute of limitations has expired.

         Furthermore,   if   the Dcfendant does not snter an acceptable plea, the Government     will

move to continue the trial now set to allow the Government sdequate time to prepare. Thc

Defendant agrees not !o coBtest such a continuance, and agrees that the resulting delay would be

excludable time unrler 18 U.S'C. $      3l6l(h).

XII.     ITIISCELLAT\IEOUS

         l.     !ig..1Q1@@              Tbis agreemcnt is the complete undemtanding between the

parties, and no other promise,s have been made by the Govcmment to the Defendant or to the

attorney for the Defendant This agreement does not prevent any Govemmental agency from

pursuing civil or administrative actions against the Defendant or any property. Ualess an

exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does

not bind or obligate Govemmental entities other thsn that specified as the Goverrment in this

agreemetrt (i.e., the United States Attorney's Office for the DisEict of Idaho)-

         B.     Pler Asreement AcceDtrnce l)e.dtine. This plea offer is explicitly conditioned

on the Defeadant's notification of acceptance ofthis agreement no later than 5:00 p.m. on Octobcr

18,2019.

)ilI.    T,MTEDSTAITS' APPROVAL

         I have reviewed this matta and the agreement This agreement coostitutes a formal plea

ofrer from the Govemment. Any oral discussions with the Defendant and defense cousel about a

plea do not constitute a plea     offer. Any written offer or agrcemeot made beforc ftis agreement is

no longer a valid offer by the Govemment and is rescinded. I agree on behalf ofthe Unit€d States

that the terms and couditions set forth above arc appropriatc and are in the best interests ofjustice.




Plee Agreement                                        l4                                         Rcv.   May20l9
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BARTM.DAVIS
UNTTED STATES ATTOR}IEY
By:



                (.^^-                                              0 'r.5

DARCIW. CRANE                                               Date
Assistant Udted States Attomcy

XIV.     ACCEPTAIYCE BY DEFENDANT AITD COTINSEL

        I havc rcad and carcfirlly reviewed every part ofthis agreement with my attomey'        I

understand the agreement and its effect upon my potential sentEnce. Furthermore, I have

discussed all of my rights wittr my atlomey and I understand those rights. No other promises or

inducements have been made to me, directly or indirectty, by any agent of the Govemment,

including any Assistant United States Attomey, concerning the plea to be entered in this case.       I

understand that this agfeement is a formal plea offcr from the Govemment. Any oral discussions

between the Govemment and me or my counsel about a plea do not constitute a plea          offer. Any

written offer or aereemeot made before this agreement is no longer valid and is rescinded. In

addition, no one has threatened or coerced me to do, or to refrain ftom doing, anything in

connection with this case, including eartering a guilty plea. I understsnd that,   if I am not a citizen

or naggalized citizen ofthe United States, by pleading guilty in this case it is virtually certain that

I will be removed from the United States. I am $tisfied with my attorney's advice and

tePres entati           case

                                                                tD-J4-t1
LOIS M. SOmO                                                  Date
Defendant

        I have read this agreement and have discussed the contents of the agreement with my

client. This document accurately sets forth the entirety ofthe agreement' I have conveyed all

written offers from the Govemment to the Defendant pursuant to Missouri v. Frye' 132 S. Ct.
PIer   Agreement                                   15                                         Rcv. MeY2ol9
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1399, 1408-09 (2012). I undetstand that this agreernent is a formal plea offer from the

Govcmment. Any oral discussions bctween the Government and me or my cliant about a plea do

not constitute   a plea   offer. Any written offer or agreemcnt made bofore this agrccment      is no

longer valid and is rescinded. I havc discussed with my client the fact that if my client is not a

citizon or naturalizcd citizen ofthc Unitcd States, by pleading guilty in this case, it is virtuelly

certain that my client     will   be removed from the United States.   I concur in my clieirt's decision to

plead guilty as set forth above.




                                                                /f         oc-r Z atl,
EDWARD D                                                        Date
Attorney for the Defendant




Plea Agreement                                         l6                                        Rcv.   May20l9
